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                                        UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF ARKANSAS
                                                CENTRAL DIVISION

Debtor(s) Karen Easter                                                                                 Case No. 4:22-bk-10799




                                                Arkansas Chapter 13 Plan
                                                    (Local Form 13-1)
___________________________________________________________________________________________________________

 Original Plan              Amended Plan               For an amended plan, all applicable provisions must be repeated
                                                       from the previous plan(s). Provisions may not be incorporated by
                                                       reference from previously filed plan(s).

                                                       List below the sections of the plan that have been changed:
                                                       _________________________________________________________________

                                                       State the reason(s) for the amended plan, including any changes of circumstances
                                                       below. If creditors are to be added, please complete Addendum A as well as file
                                                       any appropriate amended schedules.
                                                       ________________________________________________________________

                                                       ________________________________________________________________

                                                       The Amended Plan is filed:           Before confirmation
                                                                                            After confirmation
 Part 1: Notices
 To Debtor(s): This form sets out options that may be appropriate in some cases, but the presence of an option on the form
               does not indicate that the option is appropriate in your circumstances. Plans that do not comply with local rules
               and judicial rulings may not be confirmable.

                Original plans and amended plans must have matrix(ces) attached or a separate certificate of service should be
                filed to reflect service in compliance Fed. R. Bankr. P. 2002.

 To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated. You should read
               this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an attorney,
               you may wish to consult one. If you oppose the plans treatment of your claim or any provision of this plan, you or your
               attorney must file a written objection to confirmation with the United States Bankruptcy Court either electronically (if filer
               is approved for electronic filing) or at the following addresses:

                      For Eastern District cases (Delta, Northern or Central ***Batesville and Pine Bluff filed prior to 11/28/2019***):
                      United States Bankruptcy Court, 300 West 2nd Street, Little Rock, AR 72201

                      For Western District cases (El Dorado, Fayetteville, Fort Smith, Harrison, Hot Springs, or Texarkana Divisions):
                      United States Bankruptcy Court, 35 E. Mountain Street, Fayetteville, AR 72701

                The objection should be filed consistent with the following timelines:

                      Original plan filed at the time the petition is filed: Within 14 days after the 341(a) meeting of creditors is
                      concluded.

                      Original plan filed after the petition is filed or amended plan (only if filed prior to the 341(a) meeting): Within
                      the later of 14 days after the 341(a) meeting of creditors is concluded or 21 days after the filing of the plan.

                      Amended plan: Within 21 days after the filing of the amended plan.


              The court may confirm this plan without further notice if no objection to confirmation is timely filed.
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  The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether or not the plan
  includes each of the following items. If an item is checked as Not included or if both boxes are checked, the provision will
  be ineffective if set out later in the plan.

          A limit on the amount of a secured claim, set out in Section 3.4, which may
   1.1                                                                                                  Included          Not included
          result in a partial payment or no payment at all to the secured creditor.
   1.2 Nonstandard plan provisions, set out in Part 8.                                                  Included          Not included
  2

 Part 2: Plan Payments and Length of Plan
  2.1 The debtor(s) will make regular payments to the trustee as follows:
    Inapplicable portions below need not be completed or reproduced.

      Original plan: The debtor(s) will pay $400.00 per month to the trustee. The plan length is 60 months.

          The following provision will apply if completed:

               Plan payments will change to $________ per month beginning on ________.

               Plan payments will change to $________ per month beginning on ________.
                   (Use additional lines as necessary.)

         Amended plan: Plan payments will change to $________ per month beginning on the later of the date of filing of the amended
         plan or ________. The plan length is ________ months.

          The following provision will apply if completed:

               Plan payments will change to $________ per month beginning on ________.

               Plan payments will change to $________ per month beginning on ________.
                   (Use additional lines as necessary.)

          The debtor(s) will pay all disposable income into the plan for not less than the required plan term, or the applicable commitment
          period, if applicable, unless unsecured creditors are being paid in full (100%). If fewer than 60 months of payments are
          specified, additional monthly payments will be made to the extent necessary to make the payments to creditors specified in this
          plan.

  2.2     Payments shall be made from future income in the following manner:

          Name of debtor Karen Easter

                  Direct pay of entire plan payment) per month.

                  Employer withholding of $________ per month.
                      Payment frequency:        monthly,  semi-monthly,       bi-weekly,    weekly,    other
                      If other, please specify: ___________________

                            Employer name ______________________________________
                            Address       ______________________________________
                                          ______________________________________
                            Phone         ______________________________________

          Name of debtor________________________

                  Direct pay of entire plan payment or ________ (portion of payment) per month.

                  Employer withholding of $________ per month.
                      Payment frequency:        monthly,  semi-monthly,       bi-weekly,    weekly,    other
                      If other, please specify: ___________________

                            Employer name ______________________________________
                            Address       ______________________________________
                                          ______________________________________
                            Phone         ______________________________________

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 2.3    Income tax refunds.

   Check one.
          Debtor(s) will retain income tax refunds received during the plan term and have allocated the refunds in the budget.

            Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
        return and will turn over to the trustee all income tax refunds received during the plan term.

           Debtor(s) will treat income tax refunds as described below. The debtor(s) will supply the trustee with a copy of each income
        tax return filed during the plan term within 14 days of filing.
         ____________________________________________________________________________________________________
        ____________________________________________________________________________________________________

  2.4 Additional payments.

   Check one.
          None. If None is checked, the rest of § 2.4 need not be completed or reproduced.

            To fund the plan, debtor(s) will make additional payment(s) to the trustee from other sources, as specified below. Describe
        the source, estimated amount, and date of each anticipated payment.

       _____________________________________________________________________________________________________

 Part 3: Treatment of Secured Claims
  3 . 1 Adequate Protection Payments.

        Check one.
          None. If None is checked, the rest of § 3.1 need not be completed or reproduced.

            The debtor(s) plan payment to the trustee will be allocated to pay adequate protection payments to secured creditors as
        indicated below. The trustee shall be authorized to disburse adequate protection payments upon the filing of an allowed claim
        by the creditor. Preconfirmation adequate protection payments will be made until the plan is confirmed. Postconfirmation
        adequate protection payments will be made until administrative fees are paid (including the initial attorneys fee). Payment of
        adequate protection payments will be limited to funds available.

         Creditor and last 4 digits                                       Monthly
                                         Collateral                                                        To be paid
         of account number                                                payment amount
         Car-Mart                        2016 Kia Sportage                180.00                              Preconfirmation
                                                                                                              Postconfirmation
                                                                                                              Preconfirmation
                                                                                                              Postconfirmation
                                                                                                              Preconfirmation
                                                                                                              Postconfirmation

  3 . 2 Maintenance of payments and cure of default (long term-debts, including debts secured by real property that debtor(s)
        intend to retain).
       Check one.
          None. If None is checked, the rest of § 3.2 need not be completed or reproduced.

           The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, including any
       changes required by the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed
       either by the trustee or directly by the debtor(s), as specified below. The debtor(s) will resume payments to the creditors upon
       completion of the plan, pursuant to the terms of the respective agreements. Any existing arrearage will be paid in full through
       disbursements by the trustee, with interest, if any, at the rate stated.

       The current contractual installment payments for real estate may be increased or decreased, and the plan payment increased, if
       necessary, based upon information provided by the creditor and upon the absence of objection from the debtor(s) under applicable
       rules. Unless otherwise ordered by the court, the amounts listed on a filed and allowed proof of claim will control over any contrary
       amounts listed below as to the current installment payment and arrearage amount. If relief from the automatic stay is ordered
       as to any item of collateral listed in this paragraph, then, unless otherwise ordered by the court, all payments under this
       paragraph as to that collateral will cease, and all secured claims based on that collateral will no longer be treated by the
       plan.



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                                                                          Monthly                                              Interest rate,
           Creditor and last                            Monthly                              Estimated        Monthly
                                                                          installment                                          if any, for
           4 digits of           Collateral             installment                          arrearage        arrearage
                                                                          payment                                              arrearage
           account number                               payment                              amount           payment
                                                                          disbursed by                                         payment
                                                                             Debtor(s)
                                                                             Trustee
                                                                             Debtor(s)
                                                                             Trustee
                                                                             Debtor(s)
                                                                             Trustee

  3.3   Secured claims excluded from 11 U.S.C. § 506 (non-506 claims).
        Check one.
           None. If None is checked, the rest of § 3.3 need not be completed or reproduced.

           Claims listed in this subsection consist of debts that were:

            (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle
            acquired for the personal use of the debtor(s) (910 car claims), or
            (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value
            (PMSI within one year).

        The creditors below will retain their liens and secured claims will be paid in full under the plan at the monthly payment and interest
        at the rate stated below. Unless otherwise ordered by the court, the claim amounts listed on a filed and allowed proof of claim will
        control over any contrary amounts listed below, except as to value, interest rate and monthly payment.

           Creditor and last 4                                             Debt/
                                                            Purchase                         Value of                           Monthly
           digits of account       Collateral                              estimated                           Interest rate
                                                            date                             collateral                         payment
           number                                                          claim
                                   2016              Kia                   $18,304.54        $18,304.54        6.0%             $353.96
                                   Sportage




  3.4   Claims for which § 506 valuation is applicable. Request for valuation of security, payment of fully secured claims, and
        modification of undersecured claims.

        Check one.
           None. If None is checked, the rest of § 3.4 need not be completed or reproduced.

        The remainder of this paragraph will be effective only if there is a check in the box included in § 1.1.

           The debtor(s) request that the court determine the value of the collateral securing the claims as listed below. For each non-
        governmental secured claim listed below, the debtor(s) state that the value of the collateral securing the claim should be as set
        out in the column headed Value of collateral. For secured claims of governmental units, unless otherwise ordered by the court,
        the value of the collateral securing the claim listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over
        any contrary amount listed below.

        Secured claims will be paid the lesser of the amount of the claim or the value of the collateral with interest at the rate stated
        below. The portion of any allowed claim that exceeds the value will be treated as an unsecured claim under Part 5 of this plan. If
        the amount of a creditors secured claim is listed below as having no value, the creditors allowed claim will be treated in its entirety
        as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the claim amounts listed on a filed and
        allowed proof of claim will control over any contrary amount listed below, except as to value, interest rate and monthly payment.

        The holder of any claim listed below as having value in the column headed Value of collateral will retain the lien on the property
        interest of the debtor(s) or the estate(s) until the earlier of: (a) payment of the underlying debt determined under nonbankruptcy
        law, or (b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the
        creditor.




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           Creditor and last 4                                           Debt/                                                       Estimated
                                                          Purchase                          Value of     Interest     Monthly
           digits of account        Collateral                           estimated                                                   unsecured
                                                          date                              collateral   rate         payment
           number                                                        claim                                                       amount




  3.5   Surrender of collateral.

            None. If None is checked, the rest of § 3.5 need not be completed or reproduced.

            The debtor(s) surrender to each creditor listed below the collateral that secures the creditors claim in accordance with 11
        U.S.C. § 1325(a)(5)(C). The debtor(s) request that upon confirmation of this plan, the stay under 11 U.S.C. §§ 362(a) and 1301(a)
        be terminated as to the collateral only. No further payments are to be made to the creditor for the secured claim. Any allowed
        unsecured claim resulting from the disposition of the collateral will be treated in Part 5 below. Unless otherwise ordered by the
        court, to the extent that the debtor(s) become entitled to proceeds upon disposition of the collateral, the proceeds will be remitted
        to the trustee.

            Creditor and last 4 digits of account number                   Collateral to be surrendered




  3.6 Secured claims not provided treatment. In the event that a secured claim is filed and allowed that is not provided treatment in
      the plan, the trustee shall pay such creditor the claim amount without interest after this plan in all other respects has been
      completed.

 Part 4: Treatment of Fees and Priority Claims
  4.1   General.

        Trustees fees and all allowed priority claims, including domestic support obligations, will be paid in full without postpetition interest.

  4.2   Trustees fees.

        The trustees fees are governed by statute and may change during the course of the case.

  4.3   Attorneys fees.

        The attorneys fee is subject to approval of the court by separate application. The following has been paid or will be paid if
        approved by the court:

              Amount paid to attorney prior to filing:     $0.00

              Amount to be paid by the trustee:            $3,500.00

              Total fee requested:                         $3,500.00

        Upon confirmation, the attorney shall receive an initial fee as provided in the application and approved by the court from funds
        paid by the debtor(s), after administrative costs have been paid. The remaining fee will be paid at the percentage rate of the total
        disbursed to creditors each month provided in the application approved by the court.

              The initial fee and percentage rate requested in the application are $3,500.00 and 25 %, respectively.




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  4.4   Priority claims other than attorneys fees and those treated in § 4.5.

        Filed and allowed priority claims (usually tax claims), including without limitation, the following listed below, will be paid in full in
        accordance with 11 U.S.C. § 1322(a)(2), unless otherwise indicated. For claims filed by governmental units, the categorization
        of the claim by the creditor (secured, priority, nonpriority unsecured) and amounts shall control over any contrary amounts unless
        otherwise ordered by the court.

          Creditor                                  Nature of claim (if taxes, specify type and years)             Estimated claim amount




  4.5   Domestic support obligations.

        Check one.
          None. If None is checked, the rest of § 4.5 need not be completed or reproduced.

        The name(s) and address(es) of the holder of any domestic support obligation are as follows. See 11 U.S.C. §§ 101(14A) and
        1302(b)(6). ***If joint debtors, indicate which debtor has a domestic support obligation.***

          Name and address of holder                   Paid to                                       Name of debtor obligated
                                                           Holder
                                                           Governmental unit, below
                                                           Holder
                                                           Governmental unit, below

        The following domestic support obligation claims are assigned to, owed to, or recoverable by a governmental unit.

          Name and address of the                       Holder of the
                                                                                                     Name of debtor obligated
          governmental unit                             domestic support obligation




        Continuing domestic support obligation payment.

           The regular monthly support payment shall be paid by the debtor(s) directly and is included on Schedules I or J.

           The regular domestic support obligation monthly payment of $_______ shall be paid by the trustee as a continuing debt.

        Domestic support obligation arrearage payment.

           The domestic support obligation arrearage claim will be paid by the trustee as listed below. Unless otherwise ordered by the
        court, the arrearage claim amount listed on the filed and allowed proof of claim will control over the total estimated arrearage
        amount listed below.

             Name and address of creditor                                                    Total estimated             Monthly arrearage
                                                                                             arrearage amount            payment




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 Part 5: Treatment of Nonpriority Unsecured Claims
  5.1   Nonpriority unsecured claims.

        Allowed nonpriority unsecured claims shall be paid at least as much as they would receive if the debtor(s) filed a Chapter 7 case.
        Allowed nonpriority unsecured claims shall be paid in full (100%) unless a different treatment is indicated below. For
        above median income debtor(s), the distribution to unsecured creditors includes any disposable income pool (monthly disposable
        income times 60 months) from Form 122C-2, unless the debtor(s) are unable to meet the disposable income pool based on the
        following circumstances: _________________________________________________________________________________
        _____________________________________________________________________________________________________

        Check one, if applicable.
           A PRORATA dividend, including disposable income pool amounts, if applicable, from funds remaining after payment of all
        other classes of claims; or

           Other. Please specify _____________________________________________.

  5.2   Special nonpriority unsecured claims and other separately classified nonpriority unsecured claims.

        Check one.
          None. If None is checked, the rest of § 5.2 need not be completed or reproduced.

            The unsecured claims designated below will be paid prior to payment of other nonpriority unsecured claims. The reason the
        claims are treated as special is stated below. These claims will be paid in full based on the filed and allowed proof of claim
        except as to monthly payment and interest rate, if any.

          Creditor and last 4 digits of                            Monthly        Interest rate (if blank,     Reason for classification
                                                Debt amount
          account number                                           payment        no interest to be paid)      as special




  5.3   Maintenance of payments and cure of any default on nonpriority unsecured claims.

        Check one.
          None. If None is checked, the rest of § 5.3 need not be completed or reproduced.

           The monthly installment payments will be paid on the following nonpriority unsecured claims for which the last payment is due after
        the final plan payment and any default in payments is cured. The payments will be disbursed by the trustee during the plan term.
        These claims will be paid in full based on the filed and allowed proof of claim except as to monthly payment and interest rate, if
        any. The debtor(s) will resume the monthly installment payments at the conclusion of the case.

          Creditor and last 4 digits of                            Monthly        Interest rate (if blank,     Reason for classification
                                                Debt amount
          account number                                           payment        no interest to be paid)      as long term




 Part 6: Contracts, Leases, Sales and Postpetition Claims
  6.1   Executory Contracts and Unexpired Leases.

        Check one.
          None. If None is checked, the rest of § 6.1 need not be completed or reproduced.

        The executory contracts and unexpired leases listed below are assumed or rejected as indicated.
           Assumed items. The following executory contracts and unexpired leases are assumed, and payments due after the filing of
        the case will be paid directly by debtor(s), or by the trustee, as set forth below. Debtor(s) propose to cure any default by paying
        the arrearage on the assumed leases or contracts in the amount listed on the filed and allowed proof of claim, if contrary to the
        amount listed below.



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                                 Description of                                          Number of                         Monthly
                                                        Payment to       Payment                          Arrearage
          Creditor               contract or                                             remaining                         arrearage
                                                        be paid by       amount                           amount
                                 property                                                payments                          payment
                                                            Debtor(s)
                                                            Trustee
                                                            Debtor(s)
                                                            Trustee

            Rejected items. The debtor(s) reject the following executory contracts or unexpired leases. The debtor(s) request that upon
        confirmation of this plan, the stay under 11 U.S.C. §§ 362(a) and 1301(a) be terminated as to the property only. No further
        payments are to be made to the creditor on the contract or lease. However, the creditor may file a claim for the deficiency and
        will be treated as a nonpriority unsecured creditor.


          Creditor and last 4 digits of account number                     Description of contract or property




  6.2   Sale of assets.

        Check one.
          None. If None is checked, the rest of § 6.2 need not be completed or reproduced.

           The debtor(s) propose to sell the described real or personal property after notice and court approval on the following terms
        and will commit the proceeds as indicated. The debtor(s) also make the provisions listed below if the sale of the property does
        not ultimately occur.

                                                                                                 Provision for proceeds and if
          Creditor                  Property to be sold                 Terms of sale
                                                                                                 property does not sell



  6.3   Claims not to be paid by the trustee.

        Check one.
          None. If None is checked, the rest of § 6.3 need not be completed or reproduced.

           The following claims are to be paid directly to the creditor by the debtor(s) and not by the trustee. These claims include home
        mortgage, lease payments, and debts actually being paid by a party other than the debtor(s) (who is liable for the debt) from
        property that is not property of the estate.

                                                                                  Description of property/nature of
          Creditor                                Payment to be paid by
                                                                                  obligation
                                                    Debtor(s)
                                                    Other _______________
                                                    Debtor(s)
                                                    Other _______________

  6.4   Postpetition claims.

        Check one.
          None. If None is checked, the rest of § 6.4 need not be completed or reproduced.

            Postpetition claims pursuant to 11 U.S.C. §§ 1305 and 1322(b)(6) may be added to the plan by the debtor(s) and, if the creditor
        elects to file a proof of claim with respect to the postpetition claim, the claim may be treated as though the claims arose before
        the commencement of the case, to be paid in full or in part through the plan. Upon completion of the case, any unpaid balance
        of such claim may be subject to discharge.




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 Part 7: Vesting of Property of the Estate
  7.1   Property of the estate will vest in the debtor(s) upon:

        Check the applicable box.

           plan confirmation.

           entry of discharge.

           other: _________________________________________________________


 Part 8: Nonstandard Plan Provisions
           None. If None is checked, the rest of Part 8 need not be completed or reproduced.

        Under Bankruptcy Rule 3015.1(c), nonstandard provisions must be set forth below. A nonstandard provision
        is a provision not otherwise included in the Official Form or deviating from it. Nonstandard provisions set
        out elsewhere in this plan are ineffective.

  8.1   The following plan provisions will be effective only if there is a check in the box included in § 1.2.

   ____________________________________________________________________________________________________

   ____________________________________________________________________________________________________

   ____________________________________________________________________________________________________

   ____________________________________________________________________________________________________


 Part 9: Signatures
        By filing this document, the attorney for the debtor(s) or the debtor(s) themselves, if not represented by an
        attorney, certify(ies) that the wording and order of the provisions in this Chapter 13 plan are identical to
        those contained in plan form used in the Eastern and Western Districts of Arkansas, other than any
        nonstandard provisions included in Part 8.


                  /s/ Matthew D. Mentgen            Date: 07/08/2022
                  Signature of Attorney for Debtor(s)


                  _____________________________________                     Date_______________


                  _____________________________________                     Date_______________
                  Signature(s) of Debtor(s)
                  (required if not represented by an attorney;
                  otherwise optional)




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                                  Addendum A  For Amended Plans

              Listing of Additional Creditors and Claims for Plan Purposes
Note: While additional creditors may be listed on Addendum A, the debtor(s) also must file amended schedules as
appropriate.


A.1    Prepetition Nonpriority Unsecured Claims.
    The following are creditors with prepetition nonpriority unsecured claims that are added to the plan. These creditors
    will be provided treatment as described in Part 5.1 of the plan.

                                                  Last four digits of     Nature of debt and
        Name and address of creditor                                                                 Amount of debt
                                                  account number          date incurred




A.2    Postpetition Nonpriority Unsecured Claims.
    The following are creditors with postpetition nonpriority unsecured claims pursuant to 11 U.S.C. §§ 1305 and 1322(b)(6)
    that are added to the plan by the debtor(s). The creditors listed below are entitled to participate in the debtor(s)
    bankruptcy case at the election of the creditor.

    A creditor may elect to participate in the plan by filing a proof of claim for the postpetition claim. The claim
    will be treated as though the claim arose before the commencement of the case and will be provided treatment
    as described in Part 5.1 of the plan. Upon completion of the plan and case, any unpaid balance of such claim
    may be subject to discharge.

                                                                                                         Approval to incur
                                         Last four digits of   Nature of debt and
        Name and address of creditor                                                Amount of debt       obtained from
                                         account number        date incurred
                                                                                                         trustee or court
                                                                                                            Yes
                                                                                                            No
                                                                                                            Yes
                                                                                                            No
                                                                                                            Yes
                                                                                                            No
                                                                                                            Yes
                                                                                                            No




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                    IN THE UNITED STATES BANKRUPTCY COURT
                        Select District DISTRICT OF ARKANSAS
                                 Select Division DIVISION


IN RE:         Karen Easter                                            CASE NO: 4:22-bk-10799
                                                                               CHAPTER 13


                    NOTICE OF OPPORTUNITY TO OBJECT TO PLAN


        You are hereby notified that the captioned debtor(s) have filed the attached modification
to the plan pursuant to 11 U.S.C. ' 1321 and Rule 3015 of the Rules of Bankruptcy Procedure.
Pursuant to Rule 2002(b)(2), objections to confirmation of the plan must be filed with the United
States Bankruptcy Court at 300 W. 2nd Street, Little Rock, AR 72201, in writing within 28 days
from the date of this notice, with copies to the attorney for debtor(s) and to Joyce Bradley Babin,
Chapter 13 Standing Trustee, P.O. Box 8064, Little Rock, AR 72203-8064.

        If objections to the plan as modified are filed, the objections will be set for hearing by
subsequent notice. If no objections are filed, the plan as modified may be confirmed without further
notice or hearing.


                                                                         Matthew D. Mentgen
 Date: 07/08/2022                                                              (501) 392-5662
                                                    Attorneys Name, Address and Phone Number


                                  CERTFICATE OF MAILING

       I, Matthew D. Mentgen, do hereby certify that a true and correct copy of the foregoing
document has been served by CM/ECF to Joyce Bradley Babin, Chapter 13 Standing Trustee;
Charles W. Tucker, Assistant United States Trustee; and served by U.S. Mail, postage prepaid to:

Department of Finance and Administration
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Little Rock, AR 72203                                Philadelphia, PA 19101-7346

Employment Security Division
Legal Division                                       Select U.S. Attorney
P.O. Box 2981
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and to all creditors whose names and address are set forth on the following page(s):
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